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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS

                                                   CIVIL ACTION NO.: 1:19-cv-12597
DAVID J. HOWE,

              Plaintiff,

       vs.

U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE FOR THE RMAC TRUST SERIES
2016-CTT and
RUSHMORE LOAN MANAGEMENT
SERVICES LLC,

              Defendants.

                  DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE

       Pursuant to FRE 201, Defendants U.S. Bank National Association, as Trustee for the

RMAC Trust Series 2016-CTT (the “Trust”) and Rushmore Loan Management Services LLC

(“Rushmore”) (together, the “Defendants”) submit the following request to judicially notice

certain filings from United States Bankruptcy Court District of Massachusetts (Worcester)

Bankruptcy Petition #: 10-43053 (“2010 Bankruptcy”), certain filings from United States District

Court District of Massachusetts (Boston) Civil Docket for Case #: 1:12-cv-11428-WGY (“2012

Matter”) and certain land records recorded with the Middlesex (North) Registry of Deeds and the

Middlesex (South) Registry of Deeds, including:

   1. The Home Affordable Modification Agreement with Plaintiff dated August 6, 2010

(“Loan Modification Agreement”) with J.P. Morgan Mortgage Acquisition Corp attached as

Exhibit A to Defendants’ Motion to Dismiss Plaintiff’s Verified Complaint and re-attached

hereto at Exhibit 1 (2010 Bankruptcy, Dkt. No. 14-1, pages 19-30).




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   2. Howe’s Opposition to J.P. Morgan Mortgage Acquisition Corp.’s Motion for Relief from

Stay dated January 13, 2011 attached as Exhibit B to Defendants’ Motion to Dismiss Plaintiff’s

Verified Complaint and re-attached hereto at Exhibit 2 (2010 Bankruptcy, Dkt. No. 45).

   3. The Bankruptcy Court’s March 10, 2011 Order granting J.P. Morgan Mortgage

Acquisition Corp.’s Motion for Relief from Stay after Howe withdrew his opposition and

objection attached as Exhibit C to Defendants’ Motion to Dismiss Plaintiff’s Verified Complaint

and re-attached hereto at Exhibit 3 (2010 Bankruptcy, Dkt. Nos. 58-59).

   4. Howe’s Opposition to U.S. Bank National Association not in its individual capacity but

solely as Legal Title Trustee for LVS Title Trust I Motion for Summary Judgment attached as

Exhibit D to Defendants’ Motion to Dismiss Plaintiff’s Verified Complaint and re-attached

hereto at Exhibit 4 (2012 Matter, Dkt. No. 12).

   5. Powers of Attorney recorded with the Middlesex (North) Registry of Deeds on December

20, 2017 in Book 31740, at Page 242 and the Middlesex (South) Registry of Deeds on September

23, 2019 in Book 73323, at Page 435 attached as Exhibit G and Exhibit H respectively to

Defendants’ Motion to Dismiss Plaintiff’s Verified Complaint and re-attached hereto as Exhibit

5 and Exhibit 6.

   6. Matters of public record may be judicially noticed subject to Fed. R. Evid. 201(b)(2)

without prior notice to the parties. Fed. R. Evid. 201(e).

   7. As stated in Giragosian v. Ryan, 547 F.3d 59, 65 (1st Cir.2008), a court may consider

“documents incorporated by reference [in the complaint], matters of public record, and other

matters susceptible to judicial notice” without converting a motion to dismiss into a motion for

summary judgment (internal quotation marks omitted) (alteration in original)).




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   8. “[P]ublically-recorded real estate instruments and notices are the proper subject of

judicial notice, unless their authenticity is subject to reasonable dispute.” Mulhall v. Wells Fargo

Bank, N.A., 241 F. Supp. 3d 1046, 1050 (N.D. Cal. 2017).

                                                     Respectfully submitted,
                                                     DEFENDANTS, U.S. BANK NATIONAL
                                                     ASSOCIATION, AS TRUSTEE FOR THE RMAC
                                                     TRUST SERIES 2016-CTT, AND
                                                     RUSHMORE LOAN MANAGEMENT SERVICES
                                                     LLC,
                                                     By their attorneys,



Dated: January 2, 2020                               /s/ Christopher J. Williamson
                                                     Ryan S. Moore (BBO #673069)
                                                     Christopher J. Williamson (BBO #690589)
                                                     HOUSER LLP
                                                     400 TradeCenter, Suite 5900
                                                     Woburn, MA 01801
                                                     Tel: (339) 203-6498
                                                     Fax: (212) 490-3332
                                                     rmoore@houser-law.com
                                                     cwilliamson@houser-law.com


                                 CERTIFICATE OF SERVICE

       I, Christopher J. Williamson, hereby certify that on January 2, 2020, a true and correct

copy of the Defendants’ Request for Judicial Notice was served via ECF on the following:

       Josef Culik
       Kristin L. Thurbide
       Culik Law PC
       101 Federal St., Suite 1900
       Boston, MA 02110

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: January 2, 2020                        /s/ Christopher J. Williamson
                                              Christopher J. Williamson, BBO No. 690589

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